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         IN THE UNITED STATES DISTRICT COURT FOR THE
                WESTERN DISTRICT OF OKLAHOMA

JONATHAN RIVERA-PIEROLA,               )
                                       )
                     Plaintiff,        )
          v.                           )    Case No. CIV-21-616-PRW
                                       )
BOARD OF REGENTS FOR THE               )
OKLAHOMA AGRICULTURAL AND              )
MECHANICAL COLLEGES; STATE OF          )
OKLAHOMA ex rel. OKLAHOMA STATE        )
UNIVERSITY; and ST. MATTHEWS           )
UNIVERSITY,                            )
                                       )
                     Defendants.       )


         DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                   AND SUPPORTING BRIEF


                                       Respectfully submitted,


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       Pursuant to Fed. R. Civ. P. 56, Defendants, the Board of Regents for the Oklahoma

Agricultural and Mechanical Colleges (the “Board of Regents”) and the State of Oklahoma

ex rel. Oklahoma State University (“OSU”) (hereinafter collectively referred to as the

“Defendants”) hereby move for Summary Judgment, as there is no genuine issue of

material fact, and they are entitled to judgment in their favor.

A.     INTRODUCTION

       Plaintiff, Jonathan Rivera-Pierola (“Plaintiff”), commenced his veterinary medicine

studies in the Cayman Islands at Saint Matthew’s University (“SMU”) in 2017. After

completing the didactic portion of his studies, Plaintiff began his clinical rotations in

OSU’s College of Veterinary Medicine (“CVM”) Year IV Program (the “Program”) as an

affiliate SMU student in the Fall of 2019. 1

       From the onset, Plaintiff struggled to meet the minimum academic standards

expected of students participating in the Program. In Plaintiff’s very first rotation, he

received a grade of “D” and was placed on academic probation. Before the end of his first

academic year at OSU, Plaintiff had received three grades of “D” and five grades of “C”

in eight total rotations as a clinical student. Ultimately, Plaintiff’s consistent inability to

meet the minimum academic standards led to his dismissal from the Program.




1
 OSU was one of multiple institutions of higher education that provided clinical education
opportunities for SMU veterinary medicine students. According to Plaintiff, in addition to
OSU, the following institutions also served as affiliate institutions for the SMU veterinary
medicine program during Plaintiff’s enrollment: University of Illinois Urbana-Champaign,
Mississippi State University, Purdue University, North Carolina State University,
University of Minnesota, and Washington State University. Exhibit 1 at 39:3–40:6.
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       After his dismissal, Plaintiff filed this lawsuit alleging Defendants breached

contractual duties owed to him. See Complaint, Dkt. No. 1 at ¶ 77. Specifically, Plaintiff

alleges OSU failed to abide by its procedures and provide the contracted-for instruction.

Plaintiff also alleges his dismissal was “based on false allegations and his grade in the

abbreviated rotation.” See id. In doing so, Plaintiff seeks not only to circumvent the

academic decisions made by academic professionals but also to shift responsibility to the

Program for his own academic shortcomings. Furthermore, Plaintiff does so despite

receiving a second and even a third opportunity to succeed in the Program. Plaintiff takes

no personal accountability for his pattern of academic deficiency, and instead, he points

the finger at whomever or whatever he can to avoid any such accountability.

       As outlined in Defendants’ Motion for Summary Judgment (the “Motion”) below,

Plaintiff’s attempt to “pass the buck” regarding his academic failures by alleging

Defendants breached their contractual duties is flawed, misguided, and lacking both factual

and legal support. Defendants respectfully request the Court grant summary judgment in

Defendants’ favor as a matter of law.

B.     UNDISPUTED MATERIAL FACTS

       1.     Plaintiff began clinical rotations at OSU in the Program as an affiliate SMU

student in the Fall of 2019. See Complaint, Dkt. No. 1 at ¶ 11; Exhibit 2; and Exhibit 3.

       2.     During Plaintiff’s first rotation, Small Animal Internal Medicine (“SAIM”),

he received a grade of “D.” See Exhibit 3.

       3.     Students receiving grades of “D” for a rotation are referred to the

Professional Standards Committee (the “PSC”) for review. See Exhibit 4 at 12.

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       4.     In conducting its review, the PSC determines if, in addition to repeating the

rotation, the student shall be dismissed from the Program, placed on academic probation,

placed on academic suspension, or required to complete a semester/year of academic

reprieve. See id.

       5.     Typically, a student who receives a grade of “D” or “F” during a rotation and

is not already on academic probation will be allowed to remediate the rotation and placed

on academic probation for the remainder of his/her participation in the Program. See id.

       6.     On October 3, 2019, Dr. Margi Gilmour, Associate Dean for Academic

Affairs (“Dr. Gilmour”), issued a letter to Plaintiff indicating the PSC received notice of

Plaintiff’s grade of “D” in the SAIM rotation. See Exhibit 5.

       7.     Dr. Gilmour’s letter advised Plaintiff the PSC had voted to allow him to

repeat the rotation, and pursuant to academic policy, his grade of “D” placed him on

academic probation. See id.

       8.     Dr. Gilmour’s letter further advised Plaintiff that receiving a second grade of

“D” or “F” may result in “dismissal, remediation before being allowed to continue in the

curriculum, or scheduling remediation of the failed rotation and continuing in clinical

rotations.” See id.

       9.     Less than six months later, Plaintiff received a grade of “D” in his

Community Practice rotation. See Exhibit 3.

       10.    The PSC met on March 18, 2020, to review Plaintiff’s second grade of “D.”

See Exhibit 6.



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       11.    Plaintiff was present for the meeting and provided information to the PSC

regarding his unsatisfactory academic performance. See Exhibit 6.

       12.    In a letter dated March 23, 2020, Dr. Gilmour advised Plaintiff the PSC had

recommended Plaintiff’s dismissal from the Program. See Exhibit 7.

       13.    The letter referenced the PSC’s recommendation had been unanimous and

cited Plaintiff’s “repeated poor academic performance, lack of accountability for clinical

errors in multiple rotations, recurrent unprofessional behavior, and inability to take

constructive criticism to improve professional and clinical skills” as the bases for their

decision. See id.

       14.    The PSC found no mitigating circumstances to explain the listed concerns,

and OSU CVM Dean Carlos Risco (“Dean Risco”) accepted the recommendation of

dismissal from the Program. See id.

       15.    The letter also advised Plaintiff of his right to appeal the decision by filing a

written appeal to Dean Risco. See id.

       16.    Plaintiff submitted an appeal, and the PSC met on April 3, 2020, to reconsider

Plaintiff’s dismissal from the Program. See Exhibit 8 and Exhibit 9.

       17.    In his appeal, Plaintiff acknowledged several areas of necessary

improvement (e.g., communication, case preparation, patient care, professional ethical

behavior). See Exhibit 8.

       18.    The PSC did not find the appeal persuasive and elected to stand on the initial

recommendation of dismissal. See Exhibit 9.



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       19.    Despite the PSC’s determination, Dean Risco allowed Plaintiff an

opportunity to continue in the Program, pursuant to the discretion afforded him by the OSU

CVM Academic Standards Policy. See Exhibit 4 at 15–16.

       20.    In a letter dated April 6, 2020, Dean Risco advised the PSC that Plaintiff

would be allowed to remain in the Program subject to specific conditions. See Exhibit 10.

       21.    Dr. Gilmour advised Plaintiff of Dean Risco’s deviation from the

recommendation of the PSC and that he would be allowed to continue in the Program under

academic suspension. See Exhibit 11.

       22.    One of the conditions of Plaintiff’s academic suspension was Plaintiff’s

placement on academic probation for the duration of the clinical year, and OSU would

dismiss him from the Program with no PSC review or appeal if he failed to receive a grade

of “C” or higher for any rotation during the remaining clinical year. See id.

       23.    Shortly thereafter, Plaintiff received a grade of “D” in his Anesthesia

rotation. See Exhibit 3.

       24.    Pursuant to the terms of Plaintiff’s academic suspension, he was dismissed

from the Program. See Exhibit 12.

       25.    After his dismissal, Plaintiff brought this lawsuit against Defendants alleging

OSU breached a contract with him by failing to abide by its procedures, failing to provide

the contracted-for instruction, and dismissing Plaintiff as a result of “false allegations” and

the grade Plaintiff received in an “abbreviated” rotation. See Complaint, Dkt. No. 1 at ¶ 77.




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       26.       With respect to Plaintiff, OSU abided by and followed its policies and

procedures related to grades of “D” or “F” received by a student during one or more clinical

rotations. See Exhibit 1 at 209:14–215:22.

       27.       Plaintiff’s claim regarding OSU’s failure to abide by its policies and

procedures hinges on his assertion that OSU did not charge him with an alleged academic

integrity violation. According to Plaintiff, had OSU initiated the academic integrity process

against him, he would have had a better opportunity to provide an explanation and present

evidence on his behalf. See Exhibit 1 at 238:13–240:10.

       28.       Plaintiff’s claim regarding OSU’s failure to provide the contracted-for

instruction relates solely to Plaintiff’s final three-week rotation, Anesthesia. See Exhibit 1

at 192:13–195:7.

       29.       Plaintiff alleges OSU’s transition to virtual learning for his Anesthesia

rotation, which occurred in March of 2020 at the onset of the COVID-19 pandemic, along

with the decision of the instructor, Dr. Steffano Di Concetto (“Dr. Di Concetto”), to end

the rotation prior to the scheduled end date failed to provide Plaintiff with “proper

learning.” Id.

C.     ARGUMENT AND AUTHORITIES

       1. Standard of Review.

       “Summary judgment is appropriate where ‘the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter

of law.’” Riser v. QEP Energy, 776 F.3d 1191, 1195 (10th Cir. 2015) (quoting Fed. R. Civ.

P. 56(a)). Once Defendant “has met its initial burden of showing an absence of a genuine

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issue of material fact, ‘the burden then shifts to [Plaintiff], who must offer evidence of

specific facts that is sufficient to raise a genuine issue of material fact.’” Pioneer Ctr.

Holding Co. Emp. Stock Ownership Plan and Trust v. Alerus Fin., N.A., 858 F.3d 1324,

1334 (10th Cir. 2017) (quoting BancOklahoma Mortg. Corp. v. Capital Title Co., 194 F.3d

1089, 1097 (10th Cir. 1999) (internal quotation marks omitted)). In order for Plaintiff “‘[t]o

defeat a motion for summary judgment, evidence, including testimony, must be based on

more than mere speculation, conjecture, or surmise.’” Id. (quoting Bones v. Honeywell

Int’l, Inc., 366 F.3d 869, 875 (10th Cir. 2004)). Thus, “[o]n summary judgment, a district

court is tasked with reviewing the record (or at least those portions of the record cited by

the parties),” and “is not required to credit a nonmovant’s bald assertions marshaled in

favor of [his] claim . . . .” Latham v. Bd. of Educ. of Albuquerque Pub. Sch., 489 F. App’x

239, 243 (10th Cir. 2012). Moreover, Plaintiff must “‘go beyond the pleadings and set forth

specific facts showing that there is a genuine issue for trial.’” Platt v. Winnebago Indus.,

Inc., 960 F.3d 1264, 1269 (10th Cir. 2020) (quoting 1-800 Contacts, Inc. v. Lens.com, Inc.,

722 F.3d 1229, 1242 (10th Cir. 2013)). “The district court must draw all reasonable

inferences in favor of the nonmoving party.” Pioneer Ctr., 858 F.3d at 1334 (citing

Hornady Mfg. Co. v. Doubletap, Inc., 746 F.3d 995, 1004 (10th Cir. 2014)). However, “an

inference is unreasonable if it requires ‘a degree of speculation and conjecture that renders

[the factfinder’s] findings a guess or mere possibility.’” Id. (quoting U.S. v. Bowen, 527

F.3d 1065, 1076 (10th Cir. 2008) (internal quotation marks omitted)).




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       2.     Plaintiff Failed to Sufficiently Establish a Claim for Breach of Contract.

       Plaintiff asserts three claims, all arising from the theory of breach of contract. Under

Oklahoma law, to establish a breach of contract claim, Plaintiff “must show: (1) contract

formation; (2) breach; and (3) damages resulting therefrom.” Willis v. Capital One Corp.,

611 F. App’x 500, 503 (10th Cir. 2015) (citing Digital Design Group, Inc. v. Info. Builders,

Inc., 24 P.3d 834, 843 (Okla. 2001)). While reserving the right to subsequently challenge

the first element of contract formation, for purposes of this Motion, Defendants concede

courts have found the relationship created between students and their respective

universities may be contractual in nature. Mason v. Bd. of Regents of the Univ. of Okla., 23

P. 3d 964, 970 (Okla. Civ. App. 2000). Additionally, Plaintiff’s expert witness has not yet

provided Defendants the calculation of Plaintiff’s alleged damages; however, for purposes

of this Motion, the third element is inconsequential because Plaintiff cannot establish the

necessary second element of his claim—the occurrence of a breach.

              a. OSU Followed its Policies and Procedures

       Plaintiff claims OSU acted in bad faith and breached its contractual duties by

“failing to abide by its procedures.” Complaint, Dkt. No. 1 at ¶ 77. This allegation stems

from Plaintiff’s assertion that OSU should have utilized and/or applied its Academic

Integrity Policy when addressing Plaintiff’s performance during his Community Practice

rotation. See id. at ¶¶ 69–74; Exhibit 1 at 239:18–240:10. However, Plaintiff’s assertion is

simply wrong.




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       OSU’s Academic Integrity Policy (the “AIP”) is a relatively lengthy policy

applicable to all members of the OSU community. The AIP targets behaviors violative of

the fundamental values of academic integrity, including, but not limited to, unauthorized

collaboration, plagiarism, multiple submissions, cheating on examinations, fabricating

information, helping another person cheat, unauthorized advance access to examinations,

altering or destroying the work of others, and/or altering academic records. See Exhibit 13

at 2–3. Upon discovery of sufficient information to substantiate an alleged academic

integrity violation, an instructor may initiate the process found in the AIP by providing the

student an Academic Integrity Inquiry Form. See id. at 3. That initial step never occurred

in this case, as no one ever alleged Plaintiff violated the AIP. Yet, Plaintiff contends he

should have been treated as if he had committed an academic integrity violation, or in other

words, as if he had cheated. If this seems counterintuitive, that is because it is.


       Plaintiff’s argument centers on a sentence found in his performance evaluation for

the Community Practice rotation. See Exhibit 1 at 239:18–240:10; Exhibit 14. Plaintiff

participated in the rotation from February 10, 2020, until March 1, 2020. During the

rotation, Plaintiff had two instructors: Dr. Paul Demars (“Dr. Demars”) and Dr. Sypniewski

(“Dr. Sypniewski”) and was additionally supervised by nursing staff and interns, all of

whom observed and worked with students and were allowed to provide feedback on the

students’ evaluations. See Exhibit 16 at 36:15–40:18. Plaintiff received a grade of “D” for

the rotation, based upon three separately scored components: (1) Subjective Evaluation,

(2) Pre-Quiz & Technical Skills, & End of Rotation Quiz, and (3) Professionalism/Work


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Ethic. See Exhibit 14. The evaluation also contained a comment section, and each of the

contributors to the evaluation expressed significant concerns regarding Plaintiff. See id.


          In their evaluation comments, both Dr. Sypniewski and Dr. Demars documented

Plaintiff’s performance necessitated considerable improvement. See Exhibit 14. Dr.

Sypniewski stated, “I found that you were unwilling to take on the role of a learner. In fact,

I believe you are overconfident in your abilities/knowledgebase which makes this situation

even more critical.” Dr. Sypniewski then set forth the following list of areas which she

believed Plaintiff was unable to be successful:


   • Effectively communicate information to the supervising doctor;

   • Perform a physical and accurately identify abnormalities and communicate these to
     the client and supervising doctor;

   • Develop and implement a Treatment Plan for a sick patient;

   • Develop a diagnostic plan and interpret these timely and accurately;

   • Effectively communicate vital information about the case to stakeholders, including
     but not limited to clients, students, nurses, staff members and faculty;

   • Effectively communicate vital information, including but not limited to diagnostics
     and case follow up, to clients and team members;

   • Demonstrate Professional/Ethical Behavior and Work Ethic.


See id.


          Moreover, Dr. Demars stated, “your response to our feedback and attempts to

illustrate to you our concerns is an issue. We discussed these issues at length for at least 30


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minutes. At no time did you appear to listen and accept what we were saying, instead (you)

became defensive and argumentative.” Exhibit 14. This commentary paints a clear picture

of a student who simply failed to meet the minimum threshold of success and who refused

to listen, learn, and/or be taught how to be successful. Dr. Sypniewski and Dr. Demars

demonstrated consistency in their assessment of Plaintiff’s poor performance during the

rotation.


       Regardless, Plaintiff ignores the scathing critique of his performance in the rotation

by his instructors and focuses on a single statement in the evaluation contributed by an

unnamed supervisor—either a nurse or intern. See Exhibit 16 at 39:7–40:18. The entry in

the evaluation states, “More than one occasion where this student was not telling the truth

regarding what he had or had not done concerning patient care.” Exhibit 14. Plaintiff relies

on this statement and a comment made by Dr. Demars referring to an incident in which Dr.

Irizarry, the intern on the rotation, confronted Plaintiff about his lack of honesty

(potentially the same incident addressed in the evaluation entry) to suggest OSU should

have charged him with a violation of the AIP. However, no OSU CVM instructor identified

and/or treated these comments and/or incidents as academic integrity violations—nor

should they have.


       As outlined above, OSU’s AIP addresses instances of plagiarism, unauthorized

collaboration, cheating on exams, and other behaviors allowing students to gain an unfair

advantage in the academic setting. See Exhibit 1 at 232:2–233:15; Exhibit 13. OSU never

accused Plaintiff of any of these violative actions. The comments addressing Plaintiff’s

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honesty, or lack thereof, related to patient care issues, and OSU appropriately addressed

those concerns in the Professionalism/Work Ethic component of Plaintiff’s grade. 2

Notably, not a single witness deposed in this case, including Plaintiff, was aware of OSU

ever asserting an academic integrity violation against any participant in the Program for

suspected dishonesty regarding patient care. See Exhibit 1 at 238:13–239:8; Exhibit 16 at

40:19–41:23; Exhibit 18 at 56:2–12; Exhibit 19 at 54:8–55:3. Dr. Gilmour testified that

during her twenty years of employment with OSU CVM, she could not recall OSU CVM

filing a single academic integrity violation against a student participating in clinical

rotations, because “it just isn’t really applicable in that setting.” Exhibit 18 at 8:1–25 and

56:2–57:9.


       Nevertheless, Plaintiff alleges the comments contained in his Community Practice

evaluation regarding his dishonesty required OSU to accuse him of an academic integrity

violation for “fabricating information.” 3 This argument is fundamentally flawed for

multiple reasons. First, the nature of Plaintiff’s dishonesty regarding his patient care is

inconsistent with the type of behavior addressed by the AIP and/or outlined in the policy

as constituting “fabrication of information.” Section 6.01 of the AIP, describes “fabrication

of information” as follows: “Making up references for a bibliography, falsifying laboratory


2
  Plaintiff would not have received a passing grade in the Community Practice rotation
even if concerns regarding his honesty had not been expressed. Dr. Sypniewski and Dr.
Demars each independently graded Plaintiff’s performance in the rotation. See Exhibit 17
at 28:9–29:14. Both instructors deemed Plaintiff’s performance during the rotation
insufficient to receive a passing grade. See id. at 24:25–27:2; Exhibit 16 at 22:7–25:18.
3
  Plaintiff definitively testified the only violation of the AIP he alleges he could have been
accused of committing was fabrication of information. See Exhibit 1 at 233:6–234:16.
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or research data (for example, tampering with experimental data to obtain ‘desired’ results

or creating results for experiments that were not done), or using a false excuse for an

absence or an extension on a due date.” Exhibit 13 at 12. Again, none of Plaintiff’s

instructors ever accused Plaintiff of any of these violative actions. When pressed during

his deposition to identify any allegations that he had fabricated information, Plaintiff was

unable to do so. See Exhibit 1 at 239:18–243:3.


       Additionally, the AIP’s language is permissive—not mandatory. Section 1.04 of the

AIP states the following: “These behaviors may subject the student to disciplinary action

including receiving a failing grade on assignment, examination or course, receiving a

notation of a violation of academic integrity on the transcript, or suspension from the

University.” Exhibit 13 at 3 (emphasis added). Therefore, Plaintiff’s instructors possess

discretion regarding whether a statement, action, and/or behavior rises to the level of an

AIP violation and how to proceed. There simply is no basis for Plaintiff’s allegation that

OSU was required to assert Plaintiff violated the AIP and/or that failing to do so constitutes

a breach of contract.


       However, OSU did follow—as Plaintiff conceded—its applicable policies and

procedures for CVM students receiving grades of “D,” as outlined in the Program’s Student

Handbook. See Exhibit 4 at 12; Exhibit 1 at 209:14–215:22. As a result of his “D” grade in

the Community Practice rotation, Plaintiff was subject to PSC review. This was Plaintiff’s

second grade of “D” while attending OSU, and OSU afforded him an opportunity to meet

with the PSC to explain or provide mitigating information relating to his poor academic

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performance. Ultimately, the PSC determined, unanimously, Plaintiff should be dismissed

from the Program. In lay terms, he “flunked out.”


       OSU’s alleged failure to subject Plaintiff to an inapplicable policy—to which no

known student has ever been subjected—undoubtedly fails to qualify as an actionable

breach. Plaintiff has marshalled no evidence, nor established any facts to support his

allegation that he should have been subjected to the AIP. Furthermore, Plaintiff has failed

to demonstrate a legitimate factual dispute even exists. The alleged applicability of the

AIP to Plaintiff and/or his situation has only been put forth by Plaintiff in his attempt to

advance his claim in this lawsuit. No support, whether by witness testimony, similar

examples, or any other method, has been established to indicate Plaintiff’s claim is

anything other than pretext. 4 “[T]he mere existence of some alleged factual dispute

between the parties will not defeat an otherwise properly supported motion for summary

judgment; the requirement is that there be no genuine issue of material fact.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986). Plaintiff’s assertion that OSU should

have charged him with an academic integrity violation absent any factual or evidentiary

backing simply fails to create a genuine issue of material fact. Therefore, since Plaintiff

failed to demonstrate OSU did not follow its policies and procedures, summary judgment

should be granted in Defendants’ favor on this claim.


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  Notably, there is no indication Plaintiff raised the AIP allegation at any point during his
time in the Community Practice rotation, upon receiving his evaluation and grade of “D”
for the rotation, during his appeal to the PSC, in his written appeal to Dean Risco, during
his meeting with Dean Risco, during his participation in subsequent rotations, or at any
other time prior to filing this lawsuit.
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              b. OSU Did Not Fail to Provide Plaintiff the Contracted-for Instruction

       As his second claim for breach of contract, Plaintiff alleges OSU failed “to provide

contracted for instruction.” Complaint, Dkt. No. 1 at ¶ 77. This claim is broken into two

separate and distinct allegations regarding Plaintiff’s Anesthesiology rotation: (1) OSU’s

transition to and use of “virtual learning” at the onset of COVID-19 “failed to provide

students with adequate instruction and anesthesiology experience,” Id. at ¶ 45; and (2) Dr.

Di Concetto’s decision to terminate the Anesthesia rotation early prevented Plaintiff from

receiving “information and instruction that should have been included in the rotation.” Id.

at ¶ 49. Regarding these claims, Plaintiff cannot establish the existence of a contractual

promise which OSU allegedly breached.

                      i. OSU’s Transition to Virtual Learning at the Onset of COVID-19

       Plaintiff began the Anesthesia rotation on March 23, 2020, at the onset of the

COVID-19 global pandemic. This global catastrophe forced OSU—and the world at

large—to make unprecedented attempts to adjust to the drastically changing landscape and

determine how to move forward safely. In its endeavor to do so, OSU utilized online or

virtual instruction for a vast majority of the courses it offered, an action consistent with the

efforts of countless other institutions of higher education across the country. There is no

question this abrupt switch to virtual teaching required significant adjustments by all

involved, including University administrators, faculty members, and students. Even

Plaintiff recognized this fact in an email he sent to his instructor and fellow students near

the end of the Anesthesia rotation stating, “These are very stressful times, and the school

has really done us a service to offer this class virtually. They are really doing their part to

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keep us safe from this virus and we should honor and appreciate them for doing it.” Exhibit

15. Despite later claiming in his deposition this statement was not genuine, it reflects

Plaintiff’s awareness of the difficult situation created by COVID-19. See Exhibit 1 at

204:2–205:6.

       Plaintiff now alleges OSU committed a breach by failing to provide “adequate

instruction and anesthesiology experience” when it transitioned to virtual instruction

during the COVID-19 pandemic. Complaint, Dkt. No. 1 at ¶ 45. Such a claim is barred by

the educational malpractice doctrine. Moreover, even if the Court were to determine the

claim is not barred, Plaintiff has not established any specific educational services OSU

failed to provide.

       Oklahoma, like most jurisdictions, does not recognize claims for educational

malpractice, whether rooted in contract or tort. See Gokool v. Okla. City Univ., CIV-16-

807-R, 2016 WL 10520949, at *4 (W.D. Okla. Dec. 29, 2016) (internal citation omitted).

The Eighth Circuit recently articulated when a claim qualifies as an educational

malpractice claim:

       A claim that educational services provided were inadequate, substandard, or
       ineffective constitutes a claim of educational malpractice. Where the court is
       asked to evaluate the course of instruction or the soundness of the method of
       teaching that has been adopted by an educational institution, the claim is one
       of educational malpractice.

Soueidan v. St. Louis Univ., 926 F.3d 1029, 1034 (8th Cir. 2019) (emphasis added) (quoting

Dallas Airmotive, Inc., v. FlightSafety Int’l, Inc., 277 S.W.3d 696, 700 (Mo. Ct. App.

2008)).



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       Here, Plaintiff’s claim unequivocally constitutes a claim for educational

malpractice. Plaintiff expressly alleges OSU “failed to provide students with adequate

instruction and anesthesiology experience” and “failed to provide instruction covering all

relevant material as a result of moving to a virtual set up[.]” Complaint, Dkt. No. 1 at ¶¶

45, 76. Not only does the claim expressly allege inadequate instruction, but it also cannot

be resolved without the Court evaluating the “course of instruction or the soundness of the

method of teaching.” Soueidan, 926 F.3d 1029. Plaintiff’s claim therefore constitutes an

allegation of educational malpractice and is barred as a matter of law. Defendants are thus

entitled to summary judgment.

       Should the Court determine Plaintiff’s claim is not one for educational malpractice,

it nevertheless fails because Plaintiff has not identified any specific service OSU promised

but did not provide. Oklahoma courts have recognized a very limited exception to the

educational malpractice doctrine. Specifically, courts in Oklahoma—including this

Court—refuse to recognize student contract claims against educational institutions alleging

improper or inadequate instruction unless a student can “point to ‘some specific,

identifiable agreement for an educational institution’s provision of particular services to

its students’” and a breach of that specific agreement. Gokool, 2016 WL 10520949, at *4

(emphasis added) (quoting Bittle v. Okla. City. Univ., 6 P.3d 509, 514 (Okla. Civ. App.

2000)). Recently, many courts across the country have rejected students’ claims against

their respective institutions that attack the quality of educational services the respective

institutions provided during the global pandemic. See e.g., Vijay v. State of Okla. ex. rel.,

Bd. of Regents of the Univ. of Okla., 2022 OK CIV APP Case No. 119,809 (unpublished)

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(attached hereto as Exhibit 22); Zwiker v. Lake Superior State Univ., 986 N.W.2d 427,

443–44 (Mich. App. 2022) (holding university defendants did not breach any contract with

students when they transitioned to virtual instruction during the COVID-19 pandemic);

Raimo v. Wash. Univ. in St. Louis, 4:20-cv-00634-SEP, 2022 WL 796239, at *1, 11–12

(E.D. Mo. Mar. 16, 2022) (dismissing student’s breach of contract claims regarding

provision of online education during the COVID-19 pandemic).

       In Vijay, the Oklahoma Court of Civil Appeals upheld the trial court’s decision to

dismiss a breach of contract claim a student asserted against the University of Oklahoma

after the university transitioned to on-line instruction during the COVID-19 pandemic.

Vijay, 2022 OK CIV APP Case No. 119,809, at 2, 9–11. Notably, the Court of Civil

Appeals held the applicable statements in the university materials amounted only to

“conclusory expressions of intent or aspiration” and fell short of a “definite, identifiable,

and specific promise.” Id. at 9–10. In Gokool, this Court dismissed a student’s breach of

contract claim against her former law school wherein she “essentially” alleged, in part, the

school “created less than an ideal learning environment,” reasoning the student failed to

point to a specific, identifiable contract the school breached. 2016 WL 10520949, at *3, 5.

The court quickly determined the language in the school’s materials to which the student

cited to support her contract claim, including an acceptance letter and handbook,

constituted only “broad, policy-driven statements,” which fell short of identifiable

contracts for the provision of services. Id. at *4.

       As it did in Gokool, this Court can quickly dispel of Plaintiff’s claim because he

cannot point to any “specific, identifiable agreement” between himself and OSU wherein

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OSU promised, and failed, to provide a particular educational service during the

Anesthesiology rotation. To be sure, the one document Plaintiff mentioned in his

Complaint to support his inadequate instruction contract claim, the VCS 7843 Revised

Course Syllabus COVID-19 Outbreak Emergency Plan (hereinafter the “Anesthesiology

Syllabus” or “Syllabus”), informed students Anesthesia rounds and cases would be virtual.

See Exhibit 20 at 2. The Syllabus does not contain language regarding the caliber of

educational content; however, it does state the Anesthesia course “offers students the

opportunity to become acquainted with common anesthesia techniques, equipment, and

drugs” and “[t]he anesthesia team will do their best to provide a valuable learning

experience compatibly with a rapidly evolving and unpredictable national emergency

situation.” Exhibit 20 at 1–2 (emphasis added). These statements are a far cry from

promising—or even mentioning—the adequacy of educational content. Therefore, at most,

the Syllabus contains only “aspirational or information statements” or “unenforceable

expressions of intent.” Vijay, 2022 OK CIV APP Case No. 119,809, at 9. Accordingly,

Plaintiff has failed to demonstrate OSU breached any contractual promises, and the Court

should grant Defendants’ Motion regarding Plaintiff’s inadequate education claim.

                    ii. OSU’s Early Termination of the Anesthesia Rotation

      Plaintiff further alleges OSU breached terms set forth in the Anesthesiology

Syllabus because the rotation was terminated prior to the scheduled end date. See

Complaint, Dkt. No. 1 at ¶¶ 60, 75–76. As stated above, the rotation began on March 23,

2020, and was scheduled to last three weeks, until April 12, 2020. On April 8 (i.e.,



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Wednesday of the third and final week of the rotation), a faculty member overheard a

student making a disrespectful comment during one of the virtual rotations. See Exhibit 15.

       The Anesthesia rotation continued as scheduled, and the students took the end-of-

rotation examination on Friday, April 10. Later that afternoon, at 2:15 p.m., Dr. Di

Concetto emailed the students advising that due to the unprofessional comment being made

earlier in the week and the growing clinic expectations, coupled with the exhaustion of his

physical and mental resources, he was cancelling the final afternoon session of virtual

rounds. See Exhibit 15.

       Plaintiff alleges this cancellation constitutes a breach. Yet, Plaintiff acknowledged

all material and/or information covered on the end-of-rotation exam had concluded prior

to the exam, and the final afternoon session would not have addressed any new material.

See Exhibit 1 at 199:24–203:24. This contradicts Plaintiff’s allegation in the Complaint,

which states “students were therefore tested on the material covered in a normal rotation,

not the abbreviated material they were instructed on.” Complaint, Dkt. No. 1 at ¶ 50.

Additionally, Plaintiff acknowledged that despite the rotation schedule ending on Sunday

April 12, there was no guarantee of virtual rounds on Saturday and/or Sunday. Exhibit 1 at

199:24–203:24. Weekend participation by students was contingent upon the necessity of

emergency services. See id. Consequently, Plaintiff’s claim that the early termination of

the Anesthesia rotation constituted a breach is based solely upon the instructor’s decision

to cancel the last afternoon session of virtual rounds after the students had completed the

end-of-rotation exam.



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       Plaintiff’s breach of contract claim based on early termination of the Anesthesiology

rotation fails because, as set forth above, the Syllabus contains only informative and

aspirational statements for the Anesthesiology rotation—not specific contractual promises

in an identifiable agreement. See Gokool, 2016 WL 10520949, at *4; Bittle, 6 P.3d at 514.

       Moreover, even if the Court determines the language “Duration: 3 (three) weeks” in

the Syllabus satisfies the standard set forth in Bittle and repeated in Gokool, Plaintiff’s

claim fails because the Syllabus informed Plaintiff the Anesthesia rounds schedule and

structure, and the Syllabus itself, were subject to modification. The Syllabus stated in

conspicuous language, “this document is likely to undergo revisions and modifications,”

Exhibit 20 at 1 (italics in original), and further provided, “[t]he rounds group call platform,

schedule and structure may change and changes will be notified by the instructor via

email.” Id. at 2. Additionally, “‘as a general principle, there can be no breach of the implied

promise or covenant of good faith and fair dealing where the contract expressly permits the

actions being challenged, and the defendant acts in accordance with the express terms of

the contract.’” Dollar Rent A Car Syst., Inc. v. P.R.P. Enterprises, Inc., No. 01 CV 698,

2006 WL 1266515, at *25 (N.D. Okla. May 8, 2006) (quoting 23 Samuel Williston, A

Treatise on the Law of Contracts, § 63:22, 516 (4th ed. 2002)).

       Accordingly, the Syllabus gave Dr. Di Concetto the flexibility to modify the

duration of the rotation and rounds schedule at any time without limitation. See id. at 1–2.

That is precisely what Dr. Di Concetto did when he cancelled virtual rounds two hours and

forty-five minutes early on the last weekday of Plaintiff’s Anesthesiology rotation. See

Exhibit 15. Thus, OSU did not breach any contract, including the implied covenant of good

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faith and fair dealing, when the relevant instructor ever-so-slightly modified the schedule

on the last afternoon of virtual rounds.

       Finally, Oklahoma law defines breach of contract as “a material failure of

performance of a duty arising under or imposed by agreement.” Lewis v. Farmers Ins. Co.,

Inc., 681 P.2d 67, 69 (Okla. 1983) (emphasis added); Chickasaw Tel. Co. v. Southwestern

Bell Mobile Syst., Inc., No. 96-6357, 113 F.3d 1245 (table) (unpublished), 1997 WL

290951, at *3 (10th Cir. 1997) (citing Lewis, 681 P.2d at 69). The “[d]etermination of

materiality generally focuses upon whether or not the nonperformance defeats the object

of the parties in forming the contract.” Dollar Rent A Car Syst., Inc., 2006 WL 1266515 at

* 22 (citing 14 Richard A. Lord, Williston on Contracts, § 43:6 (4th ed. 2000)). Here, even

if the Court determines the existence of an immutable contract between OSU and Plaintiff

that required OSU to provide a three-week Anesthesiology rotation, OSU’s cancellation of

the last afternoon rounds of the rotation could not constitute a material failure of its

performance obligations under the Syllabus.

       Dr. Di Concetto stated the last Friday of the rotation was generally a “Q-and-A open

session with the students—because everything was pretty much completed,” and no new

material would have been presented to the students. See Exhibit 21 at 60:14–62:2.

Moreover, there was no guarantee, nor has Plaintiff even suggested, Dr. Di Concetto would

have called him to participate in an emergency case on Saturday, April 11th or Sunday,

April 12th. As to weekend days, the Syllabus imposed an obligation only on the students

to be available for emergency calls. It imposed no obligation on Dr. Di Concetto or any

other anesthesiology instructor to call Plaintiff—or any student for that matter—to

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participate in a weekend emergency case. See Exhibit 20 at 2; Exhibit 1 at 200:21–25 and

201:1–5.

       According to the Syllabus, Plaintiff was to be given “an opportunity to become

acquainted with common anesthesia techniques, equipment, and drugs.” Exhibit 20 at 1.

The cancellation of one set of rounds and emergency on-call (for which there was no

obligation to call on Plaintiff) at the end of the rotation after the final exam could not have

defeated the contract’s purpose. If the Court were to hold otherwise, educational

institutions could be found to have breached contracts every time classes are cancelled due

to instructor illness, inclement weather, or for any other reason. Therefore, Dr. Di

Concetto’s decision to cancel the final set of rounds and a weekend of emergency on-call

immediately prior to the conclusion of the rotation did not constitute a material failure by

OSU, and Defendants are entitled to summary judgment.


              c. OSU’s Dismissal of Plaintiff from the Program

     Plaintiff’s third and final claim alleges his dismissal from the Program constitutes a

breach of contract. Plaintiff relies on the flawed reasoning of his previous claims (which

have been addressed above) and suggests OSU based his dismissal from the Program on

“false accusations” (i.e., dishonesty) and his grade in the “abbreviated” Anesthesia rotation.

In reality, as has been thoroughly established, OSU dismissed Plaintiff from the Program

due to his consistently poor academic performance.


     Essentially, Plaintiff seeks to utilize the judicial process to override or circumvent

academic decisions made by academic professionals. However, the U.S. Supreme Court

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has unequivocally afforded significant deference to faculty members regarding academic

decision-making. In Regents of Univ. of Mich. v. Ewing, 474 U.S. 214 (1985), the

institution dismissed a medical student from its program after the student failed a National

Board of Medical Examiners exam. See id. at 216–17. The institution permitted thirty-two

medical students who failed the exam to retake it; Ewing was the only student who was not

allowed to do so. See id. at 219. Nine members of a board which independently reviewed

the status of several students unanimously dismissed Ewing. See id. at 216. The board met

again to review its decision at Ewing’s request. See id. Ewing appeared before the board

and explained his case. Id. The board again unanimously affirmed the decision to dismiss

Ewing from the medical program. The Court ultimately deferred to the University’s

decision, finding that deference should be given to the faculty’s professional judgment in

academic decisions—the Court held, such decisions may not be overruled unless the

decision is such “a substantial departure from accepted academic norms as to demonstrate

that the person or committee responsible did not actually exercise professional judgment.”

Id. at 225.


      Here, Plaintiff ultimately received a grade of “D” in three separate rotations over the

course of only a few months. Plaintiff consistently demonstrated significant academic

deficiencies, which were both objective and subjective in nature. Plaintiff’s shortcomings

spanned multiple rotations and several instructors noted them. Regardless of Plaintiff’s

dislike or disagreement with the decisions made by OSU administrators, faculty members,

and/or PSC members, these are the individuals tasked with evaluating the competency of


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students to ensure they are qualified and prepared to enter the profession of veterinary

medicine. Furthermore, these same administrators, faculty members, and PSC members

are the individuals most qualified to make those determinations. Pursuant to the rationale

of Ewing, this Court should not substitute its judgment for that of academic professionals

but should instead defer to their professional judgment in making this academic decision.


D.     CONCLUSION

       As demonstrated in detail above, there is no genuine issue as to any material fact

related to any of the causes of action in Plaintiff’s Complaint, and accordingly, Defendants

move the Court to grant summary judgment in their favor as a matter of law as to each of

Plaintiff’s claims.

                                          Respectfully submitted,

                                          s/Clinton W. Pratt
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                             CERTIFICATE OF SERVICE

I hereby certify that on this 29th day of June, 2023, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the
following ECF registrants:


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